           Case 3:12-cr-02472-JAH                       Document 73                Filed 10/03/12                  PageID.193           Page 1 of 2


     ""'AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
                Sheet I




                                              UNITED STATES DISTRICT CtJlOltTr-3 nl 4: 35
                                                                                                                                   ~c:1""\
                                                   SOUTHERN DISTRlCT OF CALIFORNIA                           -".   ;;.-\{



                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Offenses CQJl}mitted On or After Novel1jffiflh~987)

                           Francisco Torres-Tito -2                                   Case Number: 12-cr-02472-JAH-2
                                                                                      Bridget Kennedy Federal Defenders
                                                                                      Defendant's Attorney
     REGISTRATION NO. 33516298
    o
    THE DEFENDANT:
     181pleaded guilty to count(s) ...:T...:w:..:o:..o:.:f:...:t::h.:e.:n.:.:fo:.:.r:.:.m=a:::.:ti.:on~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count( s), which involve the following offense(s):
                                                                                                                    Count
     Title & Section                   Nature of Offense                                                           Number(s)
8 USC 1326                             Removed Alien Found in the United States                                                             2




        The defendant is sentenced as provided in pages 2 through                 2          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not gUilty on count(s)

 181 count(S)_re_m_ai_n_in.;;;;g'--_ _ _ _ _ _ _ _ _ _------------------------------------
                                                      _ _ _ _ _ _ _ is 181 areD dismissed on the motion of the United States.
 181 Assessment: $100.00 waived.

 181 No fine                                         o     Forfeiture pursuant to order filed
                                                                                                    ---------------             , included herein.
       rT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material ehange in the defendant's economie circumstances.
                                                                               October 1,2012




                                                                                   !TED STATES DISTRICT JUDGE


                                                                                                                                           12-cr-02472-JAH-2
     Case 3:12-cr-02472-JAH                        Document 73       Filed 10/03/12        PageID.194            Page 2 of 2


AO 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
            Sheet 2   Imprisonment
                                                                                            Judgment   Page _.-;..2_ of      2
 DEFENDANT: Francisco Torres-Tito -2
 CASE NUMBER: 12-cr-02472-JAH-2
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Thirty months.



    181 Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           [Jm _______________ [Ja.m.                       [Jp.m.   on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     [J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [J before
                       --------------------------------------------------------------
         [J as notified by the United States Marshal.
         [J as notified by the Probation or Pretrial Services Office.

                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By ______~~~~~~~~~~------
                                                                                      DEPUTY UNITED STAlES MARSHAL




                                                                                                                 12-cr-02472-JAH-2
